    EXHIBIT 28




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Cited
As of: Jul 06, 2015

                ROBERT ANDERSEN and CHAD NELEMAN, Individually and on Behalf of All
                Others Similarly Situated, Plaintiffs, vs. WELLS FARGO FINANCIAL, INC. and
                      WELLS FARGO BANK, NATIONAL ASSOCIATION, Defendants.

                                                 No. 4:11-cv-00085

                 UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF
                                   IOWA, CENTRAL DIVISION

                                            2012 U.S. Dist. LEXIS 23175


                                             February 6, 2012, Decided
                                              February 6, 2012, Filed

CORE TERMS: similarly situated, collective action,          DISTRICT JUDGE.
conditional, scheduled, certification, overtime, notice,
phone calls, conditionally, certify, class certification,   OPINION BY: JOHN A. JARVEY
class members, overtime pay, putative, software, opt-in,
phone, written policy, encouraged, supervisor, recorded,    OPINION
manager, log, customer, time clock, work overtime,
fellow employee, countervailing, lenient, handle
                                                            ORDER
COUNSEL: [*1] For Robert Andersen, Individually,
                                                                 This matter comes before the Court on Plaintiffs'
and on Behalf of All Others Similarly Situated, Chad
                                                            motion for conditional certification of a collective action
Neleman, Individually, and on Behalf of all Others
                                                            pursuant to the Fair Labor Standards Act ("FLSA"), filed
Similarly Situated, Plaintiffs: James B. Zouras, Ryan F.
                                                            on October 4, 2011. [Dkt. No. 41]. Plaintiffs Robert
Stephan, LEAD ATTORNEYS, PRO HAC VICE,
                                                            Andersen and Chad Neleman, and all others similarly
Andrew C. Ficzko, PRO HAC VICE, STEPHAN
                                                            situated are collectively referred to as "Plaintiffs."
ZOURAS, LLP, Chicago, IL; Jenna L. Green, BABICH
                                                            Defendants Wells Fargo Financial, Inc., and Wells Fargo
GOLDMAN, P.C., DES MOINES, IA; J Barton
                                                            Bank, National Association ("Defendants") filed their
Goplerud, HUDSON MALLANEY SHINDLER &
                                                            response on October 21, 2011. [Dkt. No. [*2] 48].
ANDERSON PC, WEST DES MOINES, IA.
                                                            Plaintiffs replied to Defendants' response on November 7,
For Wells Fargo Financial, Inc., Wells Fargo Bank, N.A.,    2011. [Dkt. No. 51]. Defendants filed a notice of
Defendants: Andrew J. Voss, Jeffrey A. Timmerman,           supplemental authority in support of their opposition to
PRO HAC VICE, LITTLER MENDELSON PC (MN),                    conditional certification on November 23, 2011. [Dkt.
MINNEAPOLIS, MN; Michael A Giudicessi, FAEGRE               No. 52]. The Plaintiffs replied to Defendants' notice of
BAKER DANIELS LLP, DES MOINES, IA.                          supplemental authority on November 28, 2011. [Dkt. No.
                                                            54].
JUDGES: JOHN A. JARVEY, UNITED STATES
                                                                In their motion, Plaintiffs ask the Court to grant their
                                                                                                                 Page 1


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request to conditionally certify a class pursuant to Section    other Loan Officers employed by Defendants at their Bell
216(b) of the FLSA, and to allow the issuance of an             Avenue facility in Des Moines, Iowa because these
"Opt-in Notice" to similarly situated persons who               employees shared a primary job duty3 and were required
currently or formerly worked as Loan Officers for               to be prepared to answer phone calls at the beginning of
Defendants.1 Plaintiffs assert that Defendants wrongfully       their scheduled start time. The Plaintiffs also allege that
denied overtime and other payment because they failed to        in addition to answering phone calls, the Defendant
pay Loan Officers at the Wells Fargo facility on Bell           required them to review company emails, print and
Avenue in Des Moines, Iowa for all time worked,                 administer customer documents, and perform other
including working before and after their scheduled shifts       duties. The Plaintiffs claim that these additional duties
and during scheduled lunch breaks. For the following            were routinely performed off-the-clock--and therefore
reasons, the Plaintiffs' motion for conditional certification   went uncompensated--in order to enable them to accept
of a collective action is denied.                               more phone calls during their scheduled shift. Finally, the
                                                                Plaintiffs claim the Defendants not only knew the Loan
       1 Defendants dispute that the Plaintiffs and those       Officers were working additional time for which they
       similarly situated ever held a position with the job     were not compensated, but expected the Loan Officers to
       title of "Loan Officers." Instead, the Defendants        do so.
       claim these former [*3] and current employees
       have the job title of "Sales Specialists," which is             3 Plaintiffs state the primary duty of all Loan
       then broken down into eight different job codes.                Officers is refinancing residential mortgage loans.
       Since it does not appear the parties are disputing
       which workers are contemplated in this case, and         II. CONDITIONAL CERTIFICATION UNDER THE
       instead only dispute the job title, the Court will       FLSA
       refer to their position as "Loan Officers" since this
                                                                     Plaintiffs seek conditional certification of their FLSA
       is how they were originally specified by the
                                                                claim as a collective action [*5] pursuant to 29 U.S.C. §
       Plaintiffs.
                                                                216(b). Plaintiffs also request the Court to authorize
I. FACTUAL BACKGROUND                                           notice to all potential collective action class members.
                                                                Defendants resist the Plaintiffs' requests.
     Plaintiff Robert Andersen was employed by
Defendants as a Loan Officer between January 2007 and           A. Legal Standard
May 2008.2 Plaintiff Chad Neleman was employed by
                                                                     The FLSA allows an employee to bring an action "on
Defendant as a Loan Officer between September 2007 to
                                                                behalf of himself and any other 'similarly situated'
June 2010. Both plaintiffs state that they performed work
                                                                employees." Salazar v. Agriprocessors, Inc., (Salazar II),
for Defendants at the Bell Avenue facility in Des Moines,
                                                                2008 U.S. Dist. LEXIS 40363, 2008 WL 782803, at *3
Iowa within the three years prior to the filing of this
                                                                (N.D. Iowa March 17, 2008) (quoting 29 U.S.C. § 216
complaint.
                                                                (b)). "The FLSA does not expressly define 'similarly
       2 These facts are all taken from the Complaint           situated.' Although the Eighth Circuit has not addressed
       and the associated pleadings for this motion.            the issue, this Court and others within the Eighth Circuit
                                                                have applied the two-step approach set out in Lusardi v.
     Defendants are a national bank, and Defendants             Xerox Corp." Helmert v. Butterball, LLC, 2009 U.S. Dist.
operate their businesses nationwide. However, this case         LEXIS 116460, 2009 WL 5066759, at *3 (E.D. Ark. Dec.
involves only the Loan Officers at the Bell Avenue              15, 2009) (internal citations omitted); see also
facility in Des Moines, Iowa. Since February of 2008,           Bouaphakeo v. Tyson Foods, Inc., 564 F. Supp. 2d 870,
Defendants have employed 648 Loan Officers at this              890-891 (N.D. Iowa 2008) ("The great majority of these
facility.                                                       courts--including most of all of the district courts within
                                                                the Eighth Circuit--have championed a two-step approach
     Plaintiffs, and the class of persons they seek to          to determine collective action certification under §
represent, [*4] state that they either answered inbound         216(b).").
calls from or made outbound calls to Defendants'
customers. Plaintiffs allege they are similarly situated to         Because the two-step approach is commonly used by
                                                                                                                     Page 2


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Eighth Circuit district courts in determining conditional        analysis for determining the issuance of opt-in notices to
class certification [*6] under the FLSA, and because             other potential plaintiffs under the FLSA is: whether the
both parties in this case advocate using this approach, the      plaintiffs have established a colorable basis for their
Court will use the two-step approach to decide whether           claim that [*8] a class of similarily situated plaintiffs
other employees of Defendants are similarly situated for         exist." Ray v. Motel 6 Operating, Ltd. P'ship & Motel 6
collective action under 216(b). "This approach provides          G.P., Inc., 1996 U.S. Dist. LEXIS 22564, at *5 (D. Minn.
for a two-step determination as to whether class                 March 18, 1996) (citing Severtson v. Phillips Beverage
certification is proper." Helmert, 2009 U.S. Dist. LEXIS         Co., 141 F.R.D. 276, 279 (D. Minn. 1992)). When
116460, 2009 WL 5066759 at *3 (quoting Davis v.                  determining initial class certification under the first step,
NovaStar Mortgage, Inc., 408 F. Supp. 2d 811, 815                "the plaintiffs need merely provide some factual basis
(W.D. Mo. 2005)). "Generally, the plaintiffs move for            from which the court can determine if similarly situated
conditional certification at an early stage in the litigation,   potential plaintiffs exist." Bouaphakeo, 564 F. Supp. 2d
and a class is conditionally certified for notice purposes.      at 892 (quoting Salazar II, 2008 U.S. Dist. LEXIS 40363,
Then, the defendant is allowed the opportunity to move           2008 WL 782803 at *5). "Although the burden at the first
for de-certification at the close of discovery." Id. (citing     step is more lenient, and does not require existing
NovaStar Mortgage, Inc., 408 F. Supp. 2d at 815).                plaintiffs to show that members of the conditionally
                                                                 certified class are actually similarly situated, plaintiffs
    When applying the two-part test:                             must present more than mere allegations; i.e., some
                                                                 evidence to support the allegations is required." Id.
           [T]he Court first uses a lenient standard             (internal quotation omitted). "'Courts who have faced the
        to determine whether similarly situated                  question of whether movants established substantial
        persons exist, and if appropriate, the class             allegations have considered factors such as whether
        is conditionally certified. The second step              potential plaintiffs were identified; whether affidavits of
        occurs after notice, time for opting-in, and             potential plaintiffs were submitted; and whether evidence
        discovery have taken place. Applying a                   of a widespread discriminatory plan was submitted.'"
        stricter standard, the Court makes a factual             Lopez, et al. v. Tyson Foods, Inc., 2008 U.S. Dist. LEXIS
        determination on the similarly situated                  78685, 2008 WL 3485289, at *8 (D. Neb. Aug. 7, 2008)
        question. The second inquiry is usually                  [*9] (quoting H & R Block, Ltd. v. Housden, 186 F.R.D.
        conducted upon a [*7] defendant's motion                 399, 400 (E.D. Tex. 1999)).
        for decertification.
                                                                      The analysis "does not require th[e] court to make
Bouaphakeo, 564 F. Supp. 2d at 891 (quoting Freeman v.           any findings of fact with respect to contradictory
Wal-Mart Stores, Inc., 256 F. Supp. 2d 941, 944 (W.D.            evidence presented by the parties nor does th[e] court
Ark. 2003)). Regardless of whether the Court is applying         need to make any credibility determinations with respect
the first or the second step, the burden rests with the          to the evidence presented." West v. Border Foods, Inc.,
plaintiffs to show that "other employees [are] similarly         2006 U.S. Dist. LEXIS 96963, at *10 (D. Minn. June 12,
situated." Id. (citing 29 U.S.C. § 216(b)). "In sum,             2006) (quoting Severtson v. Phillips Beverage Co., 141
'[c]onditional certification in the first step requires          F.R.D. 276, 278-79 (D. Minn. 1992)). "However, some
nothing more than substantial allegations that the putative      identifiable facts or legal nexus must bind the claims so
class members were together the victims of a single              that hearing the cases together promotes judicial
decision, policy or plan.'" Robinson, et al. v. Tyson            efficiency." Id. (quoting Barron v. Henry Cnty Sch. Sys.,
Foods, Inc., 254 F.R.D. 97, 99-100 (S.D. Iowa 2008)              242 F. Supp. 2d 1096, 1103 (M.D. Ala. 2003)).
(quoting Bouaphakeo, 564 F. Supp. 2d at 892).
                                                                     When determining whether plaintiffs should be able
     "The decision to create an opt-in class under §             to maintain an opt-in class during the second step of the
216(b), like the decision on class certification under Rule      analysis, the plaintiffs "bear the burden to show that they
23, remains soundly within the discretion of the district        are similarly situated with respect to their job
court." Saxton v. Title Max of Alabama, Inc., 431 F.             requirements and pay provisions." Bouaphakeo, 564 F.
Supp. 2d 1185, 1187 (quoting Hipp v. Liberty Nat'l Life          Supp. 2d at 892 (quoting Kautsch v. Premier Communs,
Ins. Co., 252 F.3d 1208, 1219 (11th Cir. 2001)). "The            2008 U.S. Dist. LEXIS 7219, 2008 WL 294271, at *2

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(W.D. Mo. Jan. 31, 2008)). "Although the plaintiff's             overtime--including before and after their scheduled shift,
burden at this final stage is more strict than at the notice     and during their mandatory breaks and lunchtime--that
stage, the plaintiff [*10] need not show that opt in             the Defendants both encouraged and did not record on
plaintiffs are 'identically situated.'" Id. (quoting Fast v.     their time sheets, and it therefore went uncompensated.
Applebee's Int'l, Inc., 243 F.R.D. 360, 363 (W.D. Mo.            The Plaintiffs state that "Loan Officers were encouraged
2007)). Accordingly, while the burden is higher on the           and permitted, [*12] either expressly or impliedly, to
plaintiff during the second step, and the first step is          perform non-telephone work during off hours." [Dkt. No.
considered a more lenient standard, it is not an empty           41, pg. 4.]
standard. Id. at 892. Plaintiffs are required to come forth
with enough evidence to satisfy the Court that other                 In support of their allegations, Plaintiffs submitted
employees are similarly situated. Id.                            eight affidavits from the Plaintiffs and potential opt-ins.
                                                                 Each affidavit states in either identical or nearly identical
B. Dukes v. Wal-Mart Stores, Inc.4                               terms:

        4 Dukes v. Wal-Mart Stores, Inc., U.S.          , 131              6. Each day, before my scheduled shift
        S. Ct. 2541, 180 L. Ed. 2d 374 (2011).                          began, I was required to log into my
                                                                        computer and open numerous software
     Defendants urge the Court to look through the lens of              applications. I needed to use these
the recent United States Supreme Court case of Dukes v.                 software applications to perform my job
Wal-Mart Stores, Inc. in making its decision whether or                 duties. Wells Fargo expected me and
not to conditionally certify a collective action in this case.          other Loan Officers to be ready to handle
Dukes involved a Rule 23 class action, not an FLSA                      telephone calls and service customers at
collective action. Rule 23 class actions and FLSA                       the start of our scheduled shift. Therefore,
collective actions are separate and distinct, and courts                we needed to log-in to our computers to
apply different legal standards when determining whether                open the software applications beforehand
or not to certify a Rule 23 class and when determining                  or we would not be ready to handle calls
whether or not to certify a collective action under the                 promptly at the start of our scheduled
FLSA. Finding no precedent to apply the policy standards                shift.
of Dukes to an FLSA collective [*11] action, the Court
declines to do so.                                                           7. In addition to logging into my
                                                                        computer and opening required software
C. Conditional Certification                                            applications, I customarily worked before
                                                                        my schedule shift by reading company
     This Court is required to determine if there are
                                                                        emails and printing off customer
"meaningful identifiable facts or a legal nexus binding
                                                                        documents received overnight. I also
the claims 'so that hearing the cases together furthers the
purposes of [] § 216, is fair to both parties, and does not             customarily worked during my meal and
                                                                        rest breaks performing similar work. I
result in an unmanageable trial." Lopez v. Tyson Foods,
                                                                        oftentimes worked after my scheduled
2008 U.S. Dist. LEXIS 78685, 2008 WL 3485289, at *8
                                                                        shift talking to clients on the telephone
(D. Neb. Aug. 7, 2008) (quoting Falcon v. Starbucks
                                                                        and/or responding to [*13] emails. I
Corp., 580 F. Supp. 2d 528, 2008 WL 155313, at *5
                                                                        worked before and/or after my scheduled
(S.D. Tex. 2008) (Slip Copy)). The Plaintiffs wish to
                                                                        shifts to close potential deals and meet my
certify a class because they claim the Defendant
                                                                        performance goals.
wrongfully withheld compensation.

     In this case, Plaintiffs assert that "as a matter of        [Dkt. No. 41, Exs. C, D, E, F, G, H, I, and J.] Emphasis
corporate practice, Wells Fargo does not pay Loan                added. However, the Court is as interested in what the
Officers for all their work, including work they perform         affidavits do not say as it is in what the affidavits do say.
before their scheduled start time." [Dkt. No. 41, pg. 1.]        None of the affidavits, pleadings, or briefs state how the
Plaintiffs allege that Loan Officers at the Bell Avenue          Plaintiffs knew that Wells Fargo expected them to work
facility in Des Moines, Iowa often worked                        time additional to their scheduled shift without being paid

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for it, nor how Wells Fargo encouraged them to do so.        575 F. Supp. 2d 930 (N.D. Ill. 2008) (granting Plaintiff's
Merely stating the Defendants have a "corporate practice"    motion for conditional class certification where affiants
of not paying their employees for all the time they work     stated they must work during breaks to meet the
does not convince the Court that the putative class can be   Defendant's minimum production standards, where an
meaningfully defined.                                        opt-in affiant testified that every supervisor he had while
                                                             working for Defendant expressly told him he must be
     While specific and detailed allegations are not         ready to take calls at the beginning of his shift, and where
required at this initial stage, Plaintiffs must present a    one of the Defendant's depositions admitted that
threshold amount of evidence for this Court to find that     "employees often work during their lunch breaks because
there are similarly situated employees at the Bell Avenue    they 'are held accountable' and 'could get fired if [they]
facility in Des Moines, Iowa. Plaintiffs have not alleged    don't make [their] sales quotas,' so '[they] are told to do
that any training program, any management employee of        what [they] have to do.'" Id. at 936). The Court cannot
Wells Fargo, any of their direct supervisors, nor any        infer from the mere expectation that performance goals
fellow employee ever told them they must work overtime       be met that an employer insists on employees to perform
hours that should not be recorded on their time cards.       unpaid overtime.

     Furthermore, [*14] the Plaintiffs have provided no            Another call center case is informative in this
evidence that any training, any management employee of       instance. Similar to this case, in Burch, et. al v. Qwest
Wells Fargo, any of their direct supervisors, nor any        Commc'ns Int'l, Inc, et al., call center employees sued
fellow employee ever implied that the Plaintiffs and other   their employer claiming they were required to perform
Loan Officers were required to work overtime hours that      tasks other than answering phone calls and this forced
they should not record on their time cards. Plaintiffs       [*16] them to work off-the-clock. 500 F. Supp. 2d 1181
make some reference to "performance goals" required by       (D. Minn. 2007). However, there are distinct differences
Wells Fargo:                                                 between Burch and this case. First of all, in Burch the
                                                             employee's phone served as his time clock. Id. at 1183
          10. Wells Fargo required me and other              ("...[E]ach Qwest call center employee's phone serves as
       Loan Officers to meet production goals,               the employer's time clock and work time is tracked
       including the number of loan products                 through the time that the employee logs into and out of
       sold. Wells Fargo closely tracked and                 his phone. Qwest does not track when an employee is
       monitored     each      Loan     Officer's            logged onto his computer or e-mail." Id.). Therefore, in
       performance     on    a    daily   bases.             Burch the employer did not accurately record the
       Performance reports for each Loan Officer             employee's work hours since the timekeeping system
       were generated by Wells Fargo on a daily              only recorded when the employee was taking phone calls,
       basis.                                                not when the employee was performing other essential
                                                             job tasks. Id. Secondly, the employer in that case
            11. Given Wells Fargo's expectation              admitted to many of the employee's allegations. The
       that Loan Officers meet or exceed their               employer did not dispute:
       performance goals, Wells Fargo expected
       me and other Loan Officers to arrive early                      Qwest's phone log-in system serves as
       and log in to the software applications to                   the time clock for Plaintiffs and putative
       be able to handle phone calls promptly at                    class members; Plaintiffs and putative
       the start of our scheduled shift time.                       class members all have to log onto the
                                                                    computer, boot up several computer
[Dkt. No. 41, Exs. C, D, E, F, G, H, I, and J.] Unlike the          programs, and perform other duties before
case Plaintiffs rely on for this particular argument, the           accepting calls; Quest uses the same
Plaintiffs here have not provided any information from              scheduling system at all call centers nation
which the Court can infer the Defendants expressly or               wide;      and    Quest        uses      the
impliedly--through [*15] the imposition of performance              same...monitoring procedures at [*17] all
goals--required Plaintiffs to work additional hours                 call centers.
without compensation. See Russell v. Ill. Bell Tel. Co.,

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Id. at 1187. Therefore, the court in Burch found that the       Supp. 2d at 1188 (citing West v. Border Foods, Inc., 2006
Plaintiffs and putative class members were similarly            U.S. Dist. LEXIS 96963, 2006 WL 1892527, at *9 (D.
situated and granted their request for conditional              Minn. July 10, 2006)). However, the Plaintiffs rightfully
certification of their collective action. Id. at 1191-192.      point out that "at this early stage of litigation, the mere
                                                                fact that [Defendant] has a written policy does not defeat
     In this case, Defendants do not utilize a timekeeping      Plaintiffs' motion in light of Plaintiffs' countervailing
system that is linked to the Plaintiffs' phones. Instead, the   evidence of a centralized policy [*19] not to pay
Defendants use an electronic time keeping system that           overtime." Id.
allows the Plaintiffs to manually enter their time at work,
and "time may be recorded to the minute." [Dkt. No. 48,              This reasoning holds true for Burch because as
pg. 4.] Additionally, the Defendants in this case have          demonstrated above, the Plaintiffs in that case were able
made no admissions regarding any allegations by the             to provide enough "countervailing evidence of a
Plaintiffs. Instead, they repeatedly assert that they always    centralized policy not to pay overtime." In this case,
require employees to record all the hours they work,            Plaintiffs have not provided substantial allegations, nor
including overtime hours, and that they pay employees           any evidence of any widespread policy by the Defendants
for all hours recorded. The Defendants also submitted           to deprive them of overtime pay. Instead, Plaintiffs rely
their official written policy that states:                      solely on the allegation that Defendants encouraged this
                                                                behavior, yet can point to no person-- manager,
          Overtime: All team members may be                     supervisor, or fellow employee--or policy--written,
       required to work hours in addition to their              unwritten, or implied--from whom they deduced this
       standard hours as directed by their                      information. Therefore, Plaintiffs have not provided
       manager. The Fair Labor Standards Act                    enough, if any, countervailing evidence to refute
       (FLSA)      requires   that    nonexempt                 Defendants' written overtime policies.
       employees receive overtime pay if they
       work more than 40 hours in a workweek                         It is true, however, that Plaintiffs and potential
       (see Overtime Pay and Holiday Pay). In                   opt-ins have provided affidavits that contradict
       some locations, [*18] there may also be                  Defendants' official written policy. This does not mean
       additional state laws governing overtime                 this issue is appropriate for a collective action. Under the
       pay.                                                     FLSA, a collective action is only appropriate where other
                                                                employees are similarly situated to Plaintiffs. In this case,
           Reporting overtime: If you're in a                   the allegations of the eight people who provided
       nonexempt position, you are entitled to                  affidavits for the Plaintiffs may possibly be evidence of
       pay for all hours actually worked, even                  improper [*20] practices, but the allegations are too
       those that exceed your regular schedule or               individualized and not substantial enough to show any
       that are not authorized before working                   improper policy or practice. In the absence of any
       them. Therefore, you must report all hours               evidence tending to show that Defendants routinely
       worked. If you think you're going to need                breached FLSA's pay provisions, these deviations are
       to work overtime, you need to get your                   case-specific and subject to variables, making them unfit
       manager's authorization before you work                  for a collective action. Therefore, this Court finds that
       additional hours. Overtime affects your                  Plaintiffs and the class of people they wish to represent
       business group's plan and budget, so it's                have not sufficiently demonstrated that they are similarly
       important that your manager approves it in               situated. The Court denies Plaintiffs' motion to
       advance. Working unauthorized overtime                   conditionally certify a collective action.
       hours can be grounds for corrective action,
       which may include termination of your                    III. CONCLUSION
       employment.
                                                                    Upon the foregoing,
[Dkt. No. 48, Ex. 2.] Emphasis in original. "The existence          IT IS ORDERED that Plaintiffs' Motion for
of a written policy dictating overtime pay is one factor        Conditional Certification of a Collective Action [Dkt. 41]
weighing against conditional certification." Burch, 500 F.      is DENIED.
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DATED this 6th day of February, 2012.                         UNITED STATES DISTRICT JUDGE

    /s/ John A. Jarvey                                        SOUTHERN DISTRICT OF IOWA

    JOHN A. JARVEY




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